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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )                  4:08CR3148-8
                                           )
              V.                           )
                                           )
ANGEL M. KOSKI,                            )                     ORDER
                                           )
                     Defendant.            )

       IT IS ORDERED that the defendant’s motion to reconsider order for mental
evaluation against the defendant and request for new hearing (filing 143) is denied.

       DATED this 30 th day of March, 2009.

                                          BY THE COURT:

                                          S/Richard G. Kopf
                                          United States District Judge
